                                                             EXHIBIT A
             FS MEDICAL SUPPLIES, LLC vs TANNERGAP, INC., ET AL.
                         Jonathan· Bracey on 09/24/2024

 ·1· · · · · · ·IN THE UNITED STATES DISTRICT COURT

 ·2· · · · · · ·WESTERN DISTRICT OF NORTH CAROLINA

 ·3· · · · · · · · · · ·CHARLOTTE DIVISION

 ·4· · · · · ·Civil Action No. 3:21-cv-00501-RJC-WCM

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 ·6· · · · · · · · · · · · · · · · · · )
 · · ·FS MEDICAL SUPPLIES, LLC,· · · · )
 ·7· · · · · · · · · · · · · · · · · · )
 · · · · · · · · · · · · ·Plaintiff,· ·)
 ·8· · · · · · · · · · · · · · · · · · )
 · · · · · ·v.· · · · · · · · · · · · ·)
 ·9· · · · · · · · · · · · · · · · · · )
 · · ·TANNERGAP, INC. and· · · · · · · )
 10· ·TANNER PHARMA UK LIMITED,· · · · )
 · · · · · · · · · · · · · · · · · · · )
 11· · · · · · · · · · · ·Defendants.· )
 · · ·_________________________________)
 12

 13

 14· · · · · · · · · Videotaped deposition of

 15· · · · · · · · · · · ·JONATHAN BRACEY

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 17· · · · · · · · · · · ·London, England
 · · · · · · · · · · · · ·United Kingdom
 18

 19· · · · · · · · Tuesday, September 24, 2024

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 23
 · · ·Job No. 98484
 24
 · · ·Reported stenographically by:
 25· ·LEAH M. WILLERSDORF, RMR, CRR, FBIVR, ACR, QRR2, CLR


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 ·1· · · · · · · ·So maybe tee up the dispute for him and
 ·2· ·ask him.
 ·3· ·BY MR. PUIG:
 ·4· · · · · Q.· ·Let me just ask you this:· If your counsel
 ·5· ·comes to you and requests to electronically collect
 ·6· ·emails and text messages from your phone and to
 ·7· ·disclose only the communications, emails and text
 ·8· ·messages that they collect that are relevant to your
 ·9· ·work at Tanner in this litigation, is that something
 10· ·that you would object to?
 11· · · · · A.· ·I object to everything being taken off my
 12· ·phone, yeah, absolutely.
 13· · · · · Q.· ·Okay.· If your counsel could ensure that
 14· ·no materials on your phone that are unrelated to your
 15· ·work at Tanner are provided to us in discovery, is
 16· ·that something that you would object to?
 17· · · · · · · ·MR. ANDERSON:· Objection.
 18· · · · · · · ·THE WITNESS:· If everything was just
 19· ·related to the emails and WhatsApp and text messages
 20· ·on -- between me and Tanner, then that's fine.· You
 21· ·can look at them now, if you want.
 22· ·BY MR. PUIG:
 23· · · · · Q.· ·So you would not have any problem if your
 24· ·counsel electronically collected text messages and
 25· ·emails from your device, provided that they committed

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 ·1· ·not to turn over to us any records that they'd
 ·2· ·collected that are unrelated to your work at Tanner?
 ·3· · · · · · · ·MR. ANDERSON:· Well, objection.· He's
 ·4· ·already told you the answer to that one.
 ·5· ·BY MR. PUIG:
 ·6· · · · · Q.· ·You can answer.
 ·7· · · · · · · ·MR. ANDERSON:· I'm not trying to obstruct.
 ·8· ·Just be honest with him.· He's obviously told us he
 ·9· ·doesn't want any collection even by us of the
 10· ·non-Tanner stuff.
 11· · · · · · · ·THE WITNESS:· Yeah.
 12· ·BY MR. PUIG:
 13· · · · · Q.· ·Okay.· If it were possible to, at the
 14· ·point of collection, collect --
 15· · · · · · · ·MR. ANDERSON:· Only.
 16· ·BY MR. PUIG:
 17· · · · · Q.· ·-- only the emails and text messages
 18· ·related to your work at Tanner, is that something that
 19· ·you would be okay with?
 20· · · · · A.· ·Yes.
 21· · · · · Q.· ·And if, in order to do that, to make the
 22· ·distinction between emails and text messages that are
 23· ·related to your work at Tanner and those that are not,
 24· ·your device had to be hooked up to a computer to
 25· ·assist that process, is that something that you would

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 ·1· ·object to?
 ·2· · · · · A.· ·Well, it depends what the computer was
 ·3· ·going to do with everything else that was on my phone.
 ·4· ·If it stays on my phone and doesn't go anywhere, then
 ·5· ·that's fine.· But if everything from my phone ends up
 ·6· ·on a computer, then that's not fine.
 ·7· · · · · Q.· ·Okay.· I want to ask you about, just
 ·8· ·generally, the documents and records that you have
 ·9· ·related to this case.
 10· · · · · · · ·Did there come a point in time when
 11· ·somebody at the company or one of the company's
 12· ·lawyers came to you and said, "We need to preserve
 13· ·documents and other records that are related to this
 14· ·lawsuit"?
 15· · · · · A.· ·Yes, I think that would have been said,
 16· ·yeah.
 17· · · · · Q.· ·Do you know when that was said?
 18· · · · · A.· ·I don't.
 19· · · · · Q.· ·Was it in December of 2020?
 20· · · · · A.· ·I don't know when it was said.
 21· · · · · Q.· ·You have no sense of when you were told?
 22· · · · · A.· ·No.
 23· · · · · Q.· ·You said that you think that that's
 24· ·something that would have occurred?
 25· · · · · A.· ·Yeah.

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